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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF CONNECTICUT


United States of America                        Case No. 3:24-MJ- } 1··7 (MEG)

         v.

Michael Szwarc,

                     Defendant.
                                                February 8, 2024


     AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
          AND APPLICATIONS UNDER RULE 41 FOR
            WARRANTS TO SEARCH AND SEIZE

    I, Jenny Konecnik, being first duly sworn, hereby depose and state as follows:

               INTRODUCTION AND AGENT BACKGROUND

    1.        I make this affidavit in support of:

          a. a criminal complaint and arrest warrant for MICHAEL SZWARC, an

              adult male born in 1988, charging him with violations of 18 U.S.C.

              § 2252A(a)(2)   (receipt   of   child   pornography)   and   18    U.S.C.

              § 2252A(a)(5)(B), (b)(2) (access with intent to view and possession of

              child pornography) (the TARGET OFFENSES); and

          b. applications under Rule 41 of the Federal Rules of Criminal Procedure

              for search warrants for the person of S ZWARC, as specifically

              described in Attachment A-1 of this affidavit, and the locations

              specifically described in Attachment A-2 of this affidavit, including the

              entire property located at 7 4 West 4th Street, Apartment 29B, in Derby,

              Connecticut (the SUBJECT           PREMISES) and the content of
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                electronic storage devices located therein, for contraband and evidence,

                fruits, and instrumentalities of violations or attempted violations of the

                TARGET OFFENSES, which items are more specifically described in

               Attachment B of this affidavit. 1

        2.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and

have been so employed since 2019. As such, I am a "Federal Law Enforcement Officer"

of the United States. I am currently assigned to the New Haven Division, Violent

Crimes Against Children Program and am designated to work a variety of criminal

matters, including child sexual exploitation, Internet crimes against children, and

human trafficking. As part of my duties, I investigate violations of federal law,

including the online exploitation of children, particularly in relation to violations of

Title 18, United States Code, Sections 2251, 2252 and 2252A which criminalize,

among other things, the production, advertisement, possession, receipt, accessing

with intent to view and transportation of child pornography. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and

does not set forth all my knowledge about this matter.

        3.     The statements contained in this affidavit are based in part on

information provided by other members of local, state, and federal law enforcement;



1 As explained below, on January 3, 2024, the United States Probation and Pretrial Services office

seized a laptop computer from SZWARC's residence, which a forensic examination revealed contained
child pornography. The forensic examination also showed, as explained below, a history of at least four
distinct storage devices connected to the laptop from December 15, 2023, through January 9, 2024.
Thus, the warrant being applied for seeks authorization to search for and seize, among other things,
other storage devices from SZWARC's person or residence.

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my own investigation to include personal observations, documents, and other

investigative materials that I have reviewed; and my training and experience as a

Special Agent with FBI. Since this affidavit is being submitted for the limited purpose

of securing a search warrant, I have not included each and every fact known to me

concerning this investigation. I have set forth only the facts that I believe are

necessary to establish probable cause for the requested warrant.

                                     PROBABLE CAUSE

                            Background on Michael SZWARC

        4.      I am investigating SZWARC for violations of the TARGET

0 FFENSES. SZWARC has two prior convictions for possessing child pornography.

I discuss the facts relating to those convictions below.

                                          First Conviction

        5.      According to court records, in 2012, Connecticut State Police (CSP)

became aware that an IP address linked to SZWARC's residence had uploaded child

pornography. Investigators conducted a "knock and talk" at SZWARC's residence,

but SZWARC denied CSP consent to search his devices. 2 CSP obtained a search

warrant later that day and seized multiple devices, including laptops, a cell phone,

SD cards, and hard drives.

        6.     About four weeks later, SZWARC's mother contacted police and told

them that SZWARC had departed the residence and left a note stating that he was



2 A "knock and talk" is when law enforcement initiates a consensual conversation with an individual

in an attempt to obtain information relating to a criminal investigation.

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"on the run" due to the execution of the search warrant. His mother also reported

finding children's clothing while cleaning SZWARC's room. Law enforcement later

located another SD card in SZWARC's bedroom.

      7.     In total, the investigation revealed that S ZWARC possessed 1,424

image files and 52 videos files containing child pornography. The images and videos

depicted children who appeared to be younger than 16 years of age engaged in

sexually explicit activity, including masturbation, oral sex, anal sex, vaginal sex,

and/or children either seen naked or partially clothed with their genitalia exposed in

a lascivious manner. SZWARC pleaded guilty to possession of child pornography in

the second degree in violation of Conn. Gen. Stat. § 53a-196e and was sentenced to

10 years' imprisonment, execution suspended after 3 years' imprisonment, and 10

years' probation.

                                 Second Conviction

      8.     SZWARC began his period of probation for the above conviction in

November 2015. On September 7, 2018, SZWARC reported to his probation officer

for a regularly scheduled office visit. During the visit, SZWARC's probation officer

asked him ifhe had been issued a laptop as part of his educational program at Lincoln

Tech. SZWARC initially claimed that he had refused a computer, but he eventually

admitted receiving one, although he claimed to have sold it. When SZWARC's

probation officer advised him that he would be searching the shelter where

SZWARC resided, SZWARC admitted possessing two computers in his locker.



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      9.     SZWARC's probation officer then discovered that SZWARC possessed

an unauthorized cell phone when it beeped in his presence. SZWARC admitted

owning the phone and assisted his probation officer in locating child pornography on

the device. SZWARC then admitted using his laptop to download child pornography

and transfer it to his smartphone. The probation officer shut down the phone and

contacted the Hartford Police Department (HPD). Later, SZWARC's probation

officer seized a laptop bag from SZWARC's locker at the shelter he lived at.

      10.    That same day, SZWARC waived his Miranda rights and submitted to

a voluntary, recorded interview at the HPD. As part of that interview, he provided

the following handwritten statement:

            Today I attended a scheduled[sic] appointment with my probation
            officer [REDACTED], and had my backpack searched by him. I
            confessed that child pornography is on the phone and that two
            laptops in my locker at immaculate conception homeless shelter
            contained child pornography as well. I have provided passwords
            to the laptops and passwords to the hidden volumes I knew would
            inevitably be found. My logic was had I not provided the hidden
            volume information it would only make it more difficult for
            myself. The collection of photos and videos began about four
            months ago through Wifi (Public). I had spoofed (changed) my
            MAC Address to get a free hour of Wifi from XFinity hotspots.
            This method was used when I lived in Farmington before
            becoming homeless. Mostly I downloaded from the Tor Network,
            but some were found: ten to fifteen links from within legal child
            molesting websites. I had access to the internet mostly at coffee
            shops and other public locations. These images show underage
            girls about eight years old or younger in explicit sexual acts or
            posing nude.

      11.   I know, on the basis of my training, experience, research, and from

consulting with forensic examiners in the FBI's Computer Analysis and Response


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Team (CART), that SZWARC's statement makes reference to multiple sophisticated

counter-forensic methods used to avoid detection by law enforcement of illegal

activities. Because SZWARC's knowledge and use of these methods is relevant to

my investigation, I describe them in more detail here.

       12.    First, SZWARC's reference to "hidden volumes" likely refers to a

feature offered by several publicly available encryption software packages to hide

data. Encryption is the process of encoding data into an unreadable format to protect

it from unauthorized access. Typically, encryption applications take a user-supplied

key-often derived from a password-and run the data being encrypted through an

algorithm. The output takes the form of encoded and seemingly scrambled data that

is intended to be indecipherable. To decrypt the data, the original encryption key

must be provided to the decryption software. Encryption can make it difficult, and at

times impossible, for law enforcement to recover forensic evidence from a device.

Encrypted data may be stored as a volume, i.e., a single area of storage on a

filesystem.

       13.    A hidden volume is, in effect, a second layer of encrypted data hidden

within an encrypted volume that is not detectable to individuals who do not know it

is there. By structuring the encrypted data in this way, a user can ostensibly decrypt

the "visible" volume while leaving the hidden volume encrypted. The intended

outcome of this process is leading potential observers into believing that the user has

decrypted all volume data when, in reality, only some of that data has been decrypted.



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The developer of one popular, publicly available encryption application, VeraCrypt,

describes encrypted volumes as follows:

                   It may happen that you are forced by somebody to reveal the
                   password to an encrypted volume. There are many situations
                   where you cannot refuse to reveal the password (for example, due
                   to extortion). Using a so-called hidden volume allows you to solve
                   such situations without revealing the password to your volume.

                   The principle is that a VeraCrypt volume is created within
                   another VeraCrypt volume (within the free space on the volume).
                   Even when the outer volume is mounted, it should be impossible
                   to prove whether there is a hidden volume within it or not*,
                   because free space on any VeraCrypt volume is always filled with
                   random data when the volume is created** and no part of the
                   (dismounted) hidden volume can be distinguished from random
                   data. Note that VeraCrypt does not modify the file system
                   (information about free space, etc.) within the outer volume in any
                   way. 3

           14.     Second, SZWARC's reference to "spoofing" his MAC address refers to a

technique used to hide the true identity of a device on a network. A MAC (short for

Media Access Control) address is a unique alphanumeric string that is assigned to a

device. MAC spoofing is the process of altering or appearing to alter a device's MAC

address so that it appears unique or corresponds to a different device. There are a

variety of ways that a user can spoof a MAC address.

           15.     Third and last, SZWARC described using the Tor Network to obtain

child pornography. I know, on the basis of my training, experience, research, and

consultation with members of the FBI's CART, that the Tor Network is a worldwide

network of computers configured to mask the source of traffic transmitted over the


3
    VeraC!ypt, Hidden Volume, https://veracrypt.eu/en/Hidden%20Volume.html (last accessed Feb. 6, 2024).

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internet. Tor operates by encrypting and bouncing communications through multiple

relay servers-called nodes-run by volunteers all over the globe. This has the effect

of anonymizing an individual's internet activity, since the IP address associated with

a communication will correspond with the last node relaying the communication,

rather than its origin. I further know, from my training and experience, that the Tor

Network is frequently used by individuals attempting to obtain and distribute child

pornography due to its ability to mask a user's identity.

       16.    A common method of accessing the Tor Network is with Tor Browser. In

addition to all the anonymizing benefits of the Tor Network, Tor Browser is

configured to prevent any evidence of a user's web-browsing activities from being

saved to the device it runs on. One of the ways it does this is through how it handles

browser cookies and cache data.

       17.    A cookie is a text file created by a web server when the user browses a

web page hosted on the server. Typically, cookies contain data about the user's

interaction with the web site and are often used to make the site work more

efficiently. Cookies exist on the user's device and, from a forensic perspective, often

contain valuable information, such as the websites a user has visited.

       18.    A cache is a storage location for what is usually temporary data. A web

browser's cache stores information and resources from web sites that the user has

visited. The primary purpose of the browser cache is to permit faster, more efficient

web browsing. When a user visits a previously viewed website, the browser compares

the online version of the site to the version stored in the cache. If the two are still the

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same, the browser loads the web page from the browser cache instead of

redownloading it over the Internet. Thus, the browser cache often contains valuable

information about a user's web browsing activities, including sites visited and

pictures viewed.

       19.    By default, Tor Browser is configured to wipe all cookies and cache data

when the browser is closed, thus destroying any evidence of a user's web browsing

activities.

       20.    However, there is a twofold tradeoff to Tor Browser's anonymizing and

privacy features. First, browsing the web using Tor Browser is frequently slow due to

the number and distance of the relay nodes that traffic must pass through. Second,

the various security features enabled by the browser cause many websites to display

improperly or not work at all.

       21.    On February 5, 2019, a federal grand jury in the District of Connecticut

returned an indictment charging SZWARC with one count of receipt of child

pornography in violation of 18 U.S.C. § 2252A(a)(2)(A), (b)(l). SZWARC pleaded

guilty to that charge on November 21, 2019, and was sentenced on May 31, 2022, to

39 months of imprisonment followed by a term of 42 months of supervised release.

See United States v Szwarc, Case No. 19-cr-36 (SRU).

       22.    SZWARC commenced federal supervision on May 31, 2022. He has

been supervised by a United States Probation Officer with United States Probation

and Pretrial Services (USPPS) whose identity is known to me and who shall be

referred to throughout this affidavit as Probation Officer-1.

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As a result of his convictions, SZWARC is a registered sex offender. According to the

both the federal and state sex offender databases, SZWARC currently resides at the

SUBJECT PREMISES.

                   USPPS Conducts a Home Visit to SZWARC's
                  Residence and Seizes Two Unapproved Devices

       23.     On January 3, 2024, Probation Officer-1 conducted an unannounced

home visit to SZWARC's residence at the SUBJECT PREMISES. During that

visit, Probation Officer-1 observed an unauthorized Hewlett Packard (HP) laptop,

serial number 5CD31408H5 (the HP LAPTOP), plugged into a television in

SZWARC's bedroom. SZWARC stated that he purchased the HP LAPTOP weeks

prior and used it to access the "dark web" 4 for the purpose of purchasing a

hallucinogenic drug from South America. Probation Officer-1 also observed an

unauthorized Telephone Communication Limited brand smartphone on SZWARC's

television stand. Probation Officer-1 seized both devices.

       24.     In addition to the devices, Probation Officer-1 observed a child-like doll,

clad in children's clothing, positioned in a kneeling posture on SZWAR C's bed.

SZWARC admitted that he had engaged in sex acts with the doll the night prior.

Probation Officer-1 seized the doll.




4 As explained below,  I know, on the basis of my training and experience, that the "dark web" is a
hidden collection of websites that are accessible only through specialized software, such as Tor
Browser, which also is described in more detail below.

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                 Probation Officer-I Examines the HP Laptop
                     and Discovers Child Pornography

      25.    On January 9, 2024, Probation Officer-1 examined the HP LAPTOP

and discovered three image files depicting pubescent or prepubescent minor females

engaged in sexually explicit conduct. The examination also revealed at least six other

images depicting minor females nude or partially nude exposing their genitals.

      26.    Probation Officer-l's examination of the HP LAPTOP further

uncovered images of a doll like the one seized from SZWARC's bedroom. Through

an open-source search, Probation Officer-1 learned that the doll is sold on the Internet

and has three holes of various depths located at the doll's mouth, anus, and vagina.

Probation Officer-1 determined that the doll seized from SZWARC's bedroom had

similar specifications as the one found during the open-source search.

      27.    On January 12, 2023, Probation Officer-1 submitted a petition to Senior

United States District Judge Stefan R. Underhill seeking a warrant for SZWARC's

arrest for violating the conditions of his supervised release. As relevant here, the

petition alleged the following: "On January 9, 2024, a scan of the HP LAPTOP

revealed three images of minor aged females engaged in sexual acts. At least six other

images depict minor females that are nude or partially nude, with their genitals

exposed."

      28.    Judge Underhill signed the petition on January 12, 2024, and ordered

the issuance of a summons. On or about January 25, 2024, Probation Officer-1




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advised the United States Attorney's Office that Judge Underhill had authorized the

transfer of the HP LAPTOP to federal law enforcement authorities.

      29.      That same day, on January 25, 2024, SZWARC had his initial

appearance on the petition for violating his conditions of supervised release and was

released on modified conditions.

                    The Affiant Meets with Probation Officer-I
                     and Takes Custody of the HP LAPTOP

      30.      On January 26, 2024, I met with Probation Officer-I at the USPP's New

Haven office. During the meeting, Probation Officer-I showed me several of the

images of child pornography she discovered while examining the HP LAPTOP.

According to the results of the examination, each of the files was recovered from the

HP LAPTOP's unallocated space. A description of the files is provided below:

            a. The first file is a still image depicting a pubescent or prepubescent

               female child naked and lying across the lap of a clothed adult male, who

               is sitting on a couch. A black semi-cylindrical object is seen penetrating

               what appears to be the child's anus.

            b. The second file is a still image depicting a pubescent or prepubescent

               female child positioned in front of what appears to be an adult male. The

               child's head is positioned at the level of the man's waist, and her mouth

               is open as he holds his erect penis in front of it. The image cuts off at

               about the level of the child's neck.




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            c. The third image depicts a prepubescent female naked and posing with

               her leg raised to display her vagina. The naked child is the focal point of

               the image.

      31.      Probation Officer-1 advised me that her examination also showed that

Tor Browser was installed on the HP LAPTOP. Probation Officer-1 explained that

this was significant because SZWARC was interviewed during the investigation that

led to his previous federal arrest and conviction for receiving child pornography, and

he admitted using the Tor Network to obtain child pornography.

      32.     Probation Officer-1 stated that although SZWARC had told her that he

purchased the HP LAPTOP in or about November or December, he reported to his

mental health treatment provider that he had purchased it earlier, in or about

October 2023.

      33.     Prior to concluding our meeting, Probation Officer-1 turned over custody

of the HP LAPTOP to me, and I transported it to the FBI's New Haven office.

                The Preliminary Examination of the HP LAPTOP

      34.     On January 29, 2024, the Honorable Robert M. Spector, United States

Magistrate Judge, issued a federal search and seizure warrant authorizing law

enforcement to search the HP LAPTOP for evidence of violations of 18 U.S.C.

§ 2252A(a)(5)(B) (possession of child pornography). See Case No. 3:24-MJ-87 (RMS).

      35.     Following the issuance of the warrant, I conducted a partial review of a

digital extraction created from the device. My review was aided by a forensic

examiner from the FBI's CART. The following memorializes the results of my partial

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review, which at this stage of the investigation is preliminary and does not contain

each and every relevant item reviewed by me.

       36.    As an initial matter, I was advised by the CART forensic examiner that,

like SZWARC's previous arrest for possessing child pornography, the HP LAPTOP

had security and anonymizing software installed. Specifically, the laptop was

protected using BitLocker, a whole-disk encryption program capable of encrypting

entire hard drives. Disabling BitLocker requires either a user-created password or an

automatically generated recovery key. The storage and usage of this key is controlled

by the user. In this instance, the CART examiner was able to disable the protection

using a password obtained from Probation Officer-1.

       37.    In addition to the HP LAPTOP being protected by BitLocker, the

forensic examination also discovered two web browsers installed on the system:

Brave, a privacy-focused web browser capable of accessing the Tor Network, and Tor

Browser, which SZWARC has previously used to obtain child pornography. 5

       38.    According to the partial examination, the earliest detectable use of the

HP LAPTOP was October 16, 2023, when the Windows operating system was

installed. There was one identified user account on the system under the username




5 I have reviewed SZWARC's conditions of supervised release and know that the possession of the

unauthorized laptop and use of encryption software and Tor Browser are all violations of the
conditions.

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"artwo" and the display name "Maggie May." The email address used to create the

account is known to me and references a business run by SZWARC's mother. 6

        39.     Child pornography was identified in the page file of the HP LAPTOP.

I know, from my training, experience, research, and consultation with the FBI's

CART, that a page file is a hidden system file used by Windows framework operating

systems to store data from the computer's random access memory (RAM) when the

RAM runs out of storage space. Normally, when an application is opened in Windows,

the computer will use RAM to run the application and store data related to it. If,

however, no RAM is available at the time the application is opened, the computer will

temporarily move data from the RAM to the page file, thus creating more space for

the recently opened application. Therefore, the page file contains valuable

information at the time a device was seized about applications and data recently

stored in RAM but later moved to the page file.

        40.     The child pornography discovered in the page file consists of 13 images

depicting prepubescent minor females engaging in oral or vaginal sex or exposing

their vaginas lasciviously. Based on their dimensions and resolution, the files appear

to be thumbnails. Six of the images are described below:




G According to Probation Officer-I, SZWARC had told her that he originally obtained the laptop for

his mother but had not yet given it to her.

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           a. Image 1 has no file name and a corresponding hash value 7 that ends in

               bc35a82. The image depicts a prepubescent minor female child naked in

               a bathtub containing water. The minor's legs are spread, and her hands

               are on the floor of the bathtub. The naked child is the focal point of the

               image. The walls are blue, and two products are identified on the ledge

               of the bathtub. An image appearing to be identical was also identified

               but rotated, with the last seven characters of the hash value being

               b784a85.

           b. Image 2 has no file name and a corresponding hash value that ends in

               210d99f. The image depicts a prepubescent minor female child laying on

               her back, with her legs open. The child's vagina is exposed, and the child

               is the focal point of the image. The minor is wearing an orange and dark-

               colored shirt. Beneath her is green bedding.

           c. Image 3 has no file name and a corresponding hash value that ends in

               bd244c3. The image depicts a prepubescent minor female child

               positioned stomach down on a wood floor. The minor female is wearing

               only socks from the waist down, and her buttocks and vaginal area are

               exposed. The child, and specifically her buttocks and vaginal area, are




7 A hash value functions as a digital fingerprint for computer data. The data is processed through an

algorithm that produces an alphanumeric sequence of characters. Even minute changes in the data
result in a new hash value being produced.

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              the focal point of the image. The minor female's face is not visible in the

              image.

            d. Image 4 has no file name or corresponding hash value. The image

              depicts a prepubescent female child, wearing a light-colored shirt, and

              an adult female. Both the female child and female adult's mouths are on

              an erect penis. This engagement of oral sex is the focal point of the

              image.

            e. Image 5 has no file name or corresponding hash value. The image

              depicts a prepubescent female child, naked from the stomach up. The

              female child is engaged in oral sex with an adult male, which is the focal

              point of the image.

            f. Image 6 has no file name or corresponding hash value. The image

              depicts a prepubescent female child, naked from the waist down. The

              female child is wearing a yellow tank top, pulled up exposing her

              stomach. The female child is position on her back, with her hands raised

              above her shoulders. An adult male's penis is penetrating the female

              child's vagina.

      41.     Child pornography was also discovered in the Windows thumb cache file,

thumbcache.db. I know, on the basis of my training, experience, research, and

consultation with the FBI's CART, that the thumb cache contains thumbnail (i.e.,

miniature) versions of images derived from graphical media files stored in the

filesystem. Windows creates this cache so that it can display the stored thumbnails

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as icons in Windows File Explorer when a user views a folder containing images or

videos.

       42.   Specifically, I identified a thumbnail corresponding to a file with the

filename "00146 (HQ).mp4" and a hash value ending in c5249fb. I know, on the basis

of my training and experience, that the file extension "mp4" denotes that a file is an

mp4-format video. The thumbnail is a 4 x 4 collage of still images depicting sexual

intercourse, including vaginal, oral, and anal intercourse, between a naked adult

male and a prepubescent minor female child. The collage contains 16 images

displayed in four rows and four columns. The minor female is clothed in only thigh-

high socks, described as red and white striped with a blue top around the trim. In at

least one of the images from the collage, the minor female has a multicolored top on.

A pink couch is visible in the background.

       43.   The top of the collage image contains a white box containing text that

appears to provide details about what appears to be a corresponding video file. For

instance, the text references a file titled "00146 (HQ)." In addition to the 4 x 4 collage

image, I also located four additional files in the thumbnail cache that appear to be

individual images taken from either the collage or the file from which the collage

derives.

      44.    Further review of the extraction located a LNK file corresponding to the

file name "00146 (HQ).mp4"-the same file name as identified in the thumb cache

just described. LNK files are files created by the operating system automatically

whenever a user accesses a file. They contain metadata about a file, including the

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file's location in the filesystem. The local file path identified in the LNK file shows

that    the    file   was   accessed through the      user's   video folder,   located at

"C:\Users\artwo\Videos\00146 (HQ)\00146 (HQ).mp4." I know, on the basis of my

training and experience, that the text "(HQ") in a filename normally indicates that

the video file is being advertised as "high quality." The LNK file indicates that the

video was created and accessed on December 15, 2023.

        45.     Moreover, I know, on the basis of my training and experience, that the

\ Videos folder in the \Users path is one of several default folders created by Windows

for a specific purpose-in this case, storing video files. By default, this folder contains

no videos, let alone videos containing child pornography. Therefore, files are not

typically located in the \ Videos folder unless stored there through some user-

executed process, such as downloading, extracting, and/or saving the files there.

        46.     In addition to the LNK file described above, evidence located within the

extraction showed that the file "00146 (HQ).mp4" was viewed using the VLC Media

Player application (VLC), which is an application used to play video files. Specifically,

I know that VLC maintains a history of videos watched by the user along with the

file paths of the files played. In this instance, the string "00146" was identified in the

VLC history. According to data recovered during the examination, the VLC program

was first interacted with by the user on December 15, 2023.

        4 7.    The forensic examination also uncovered information that a 7 -zip

archive had been accessed on the same date that the "00146 (HQ).mp4" video file

appeared and was viewed in VLC. 7-zip is a file archiver and compression application

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that can compress multiple files into a single file, which can then be decompressed

back to the original files. The 7zip archive contained five files: a video file, "00146

(HQ).mp4," (the same file identified in the LNK file), and four image files, "00146

(HQ)_PREVIEW.JPG," "PREVIEW 01.JPG," "PREVIEW 02.JPG," and "PREVIEW

03.JPG." I know, on the basis of my training and experience, that the file extension

"jpg" denotes an image file.

      48.      According to data obtained during the forensic examination, an

executable file used to install VLC was downloaded on December 15, 2023, at 10:04:36

p.m. Less than a minute later, at 10:05:19 p.m., the VLC application was opened.

About eight seconds after that, at 10:05:27, the file "00146 (HQ).mp4" was accessed

and then opened in VLC. Fifteen minutes later, at 10:32:50 p.m., VLC was

uninstalled.

      49.      Thus, on the basis of my preliminary review and the data uncovered, I

believe that SZWARC received the 7zip archive and extracted the file "00146

(HQ).mp4" to the default Videos directory. SZWARC then installed the VLC media

player, which he used to view the video. Immediately after viewing the video,

SZWARC uninstalled the VLC media player.

      50.      I further believe that the image files of child pornography recovered

from the thumbnail cache are the four image files contained within the 7-zip archive,

along with the video file. I base this conclusion on two facts. First, the number of

thumbnail images recovered (four) corresponds exactly with the number of image files

in the 7-zip archive. Second, the file names of three of the images contain the word

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"preview," and the images do, in fact, appear to "preview" the contents of what is in

the video based on the images in the 4 x 4 collage file. I believe the final image file,

"00149 (HQ)_PREVIEW.jpg," is the collage file since the 4 x 4 collage image contains

descriptive text referencing the video's filename. Although the "00146 (HQ).mp4"

video was not recovered during the forensic examination, I believe the video depicts

child pornography because the "preview" images packaged with it in the archive

depict sexually explicit conduct involving a minor.

          51.     Lastly, data from the extraction showed a history of at least four distinct

external storage devices connecting to the laptop from December 15, 2023, through

January 9, 2024. 8 I know from my discussions with Probation Officer-I that these

devices were never identified or seized by USPPS.

                                         Dark Web Postings

          52.     In connection with this investigation, law enforcement identified several

posts attributed to SZWARC on a "dark web" forum. I know, on the basis of my

training and experience, that the "dark web" is a hidden collection of websites that

are accessible only through specialized software, such as Tor Browser. The posts

begin in September 2022, about three months after SZWARC's incarceration ended,

and end on September 29, 2022. The name of the dark web forum, as well as a

"registration agreement" hosted on it, describe it as a support community for

pedophiles. Specifically, the agreement states that the forum exists, in part, to be a


8   It is possible one of these devices is forensic examination hardware used by Probation Officer-1, since
the forensic examination shows that a storage device was attached after the HP LAPTOP was seized.

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"a warm and friendly environment, to share our journeys together, as we do the best

we can, to deal with being loving and caring paedophiles, in a world that does not

understand who we really are." The agreement further states: "[W]e are a community

geared toward loving, caring, consensual relationships with the ones that we love,

rather than just the sexual aspect of our attractions." The agreement further claims

that the posting of child pornography is not permitted.

       53.   Because the forum is a potential investigative target for law

enforcement, I refer to in this affidavit only by the name "Forum A." As described

below, several of SZWAR C's posts on Forum A discuss child pornography, the sexual

abuse of children, and child sex dolls.

         Identification of SZWARC as the Lihely Author of Posts on Forum A

       54.   Investigators identified several posts on Forum A under the screen

name "FlutterDashie88x." I believe that "FlutterDashie88x" is SZWARC for the

following reasons.

       55.   First, an HPD police report dated September 7, 2018, states that

SZWARC provided the phrase "FlutterDash" in connection with his online activity.

Additionally, SZWARC's year of birth is 1988, which corresponds with the "88" in

the pseudonym.

       56.   Second, an open-source search for "FlutterDashie88" was conducted and

located an account on the social media discussion platform Reddit. According to a

review of the "FlutterDashie88" user's posts, the user identifies as a pedophile, was

incarcerated, is serving 3.5 years of "probation" (the exact period of supervised release

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imposed for SZWARC's most recent conviction), and discusses child sex dolls.

Additionally, records provided by Reddit in response to an administrative subpoena

stated that the "FlutterDashie88" Reddit account was registered using the email

address "michaelszwarc12@gmail.com." This address was discovered on the HP

LAPTOP as an auto-fill value (i.e., an address the computer saved so that it could

be automatically supplied when an email address is requested).

      57.    Third, as discussed below, the posts by "FlutterDashie88x" reference

specific personal details about SZWARC's criminal history, including the number of

convictions and the precise sentences he received.

                            Posts Discovered on Forum A

      58.    According to timestamps on Forum A, "FlutterDashie88x" made a series

of introductory posts on September 25, 2022, starting at 9:46 p.m., in a post entitled,

"Two time convicted CP dumbass." The posts begin with the following:

             Hello everyone. So I discovered this community and I'm very
             greatfull. I intend to be a full member and productive on a daily
             basis. Anyway, as the subject suggests, I've been convicted of
             possession of CP twice. Very shameful and it's made my life a
             living hell. However, this isn't the end of the world.I just have to
             power through. But, the good news is, I've found a path to own a
             child like sex doll and use this in therapy. It's been a tough sell,
             but I've been able to find a path. Matter of fact, I've already posted
             here about this matter, and waiting for moderators to approve the
             post. Anyway, I hope this community is a good fit for me, and and
             I'm a good fit for the community. Thank you all for being here and
             keeping this site up and running

      59.    I know, on the basis of my training and experience, that "CP" 1s

shorthand for "child pornography."


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      60.    "FlutterDashie88x" continues at 10:01 p.m.:

             So this is an addendum, to comply with the community welcome
             standards. Let me continue my into by adding why I feel PSC
             would be a good fit for me. First, I like the fact that PSC is not a
             sharing community for CP. That part of my life is behind me, but
             my interests in children will never go away. I feel that PSC and
             it's guidelines are aligned with my values.

             I did read the welcome packet, and how to structure my first post,
             but I feel I'm still missing something. In any event I will be very
             bummed if I get the boot because I missed some money detail. In
             any event, I'm hoping to stay here for the indefinite future.

             Love ya guys, stay safe.

      61.    At 10:43 p.m., "FlutterDashie88x" continues in the same thread by

describing his sexual abuse of a seven-year-old child beginning when he was 20 years

old up and continuing until she turned 12 years old, and he ceased being physically

attracted to her:

             Damn. I wrote a part 3 for this and got logged out. Anyway, I
             wanted to add a bit more about myself. When I was ten years old,
             I had a little girlfriend who I had frequent sex with, who was eight
             at the time. This relationship lasted for two years. I had an
             absentee mother, so I stayed with my girlfriend for days at a time.
             We slept together in her bed, kissing, and petting. We watched
             porn on TV \(VHS\) and did as they did I ended up moving out of
             state. We found each other years later. Still on good terms, and
             she understands my attraction to minors. At twenty, I had
             another LGF that was seven years old. I was able to form a sexual
             relationship with her within 6 months for the next seven years,
             and posted on good terms. She was my across the hall neighbor,
             and pretty much lived with me. I bought her clothes to wear,
             especially socks, which was my favorite. She was my little dolly
             to dress as I pleased. We went out on dates, dinners, water parks
             and such. Her mom was a drug addict, and I fed her habit to keep
             her quiet. Even though by the time she was 12 she out paced my
             physical attraction, I still loved her for her. After that, I went to


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               jail for possession of CP. We keep regular contact to today.
               Anyway. That's my life story ... Thanks

         62.   At 11: 17 p.m., "FlutterDashie88x" replies in a thread created by a user

who posts about struggling with sexual attraction to his infant daughter. In his reply,

"FlutterDashie88x" coaches the user on how to initiate a sexual relationship with the

child:

               Well, there's always a safe way if going about things. I have no
               daughter but I would be great full for a little girl who enjoys the
               finer things in life. But it's true, it's about her education, and not
               about your gratification. Certainly you can satisfy yourself but do
               it safely. Make it fun for her. It's all a game. Of course, little girls
               do have the sensation of pleasure downstairs, but it has to have a
               pleasurable association. Never forced. Exposure over time. Get
               her more comfortable out of her clothes than not. Love guides for
               maps are out there too. Just find it, and read it in ints entiy. Top
               to bottom. No skipping. Read up on child psychology too. That
               helps a boatload. Stay safe my friend.

         63.   I know, on the basis of my training, experience, and research, that the

term "maps" is shorthand for "minor-attracted person," a phrase promoted within the

pedophile community to replace the term "pedophile."

         64.   At 11:25 p.m., "FlutterDashie88x" replies to user in a separate thread

with the following:

               Hey friend. I understand your problems. Really really do.
               However, I've had a little girl friend for years, and I miss her so
               much. Better to love list than never love at all ... Sorry. But, one
               solution I really hope you look into, is a child like sex doll. I've had
               one before, and look forward to getting another soon once my
               situation changes. My doll was a very strong emotional support
               in time if dire need. We cuddled, and slept together every night.
               She want a real little girl, but she saved my life, no exaggeration.
               Hope this helps you.


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       65.    At 11:46 p.m., "FlutterDashie88x" replies to a user in a separate thread

with the following:

              I'm so glad you applied here. I'm yet to be a member, approved,
              but I strongly feel that you would make another great member
              here as well. You seem to have a solid head on your shoulders,
              and are asking all the right questions. You also strike me as a
              cautious and conservative person with what desions you make
              with your child attraction. I have no doubt your staying safe, but
              as for me, a person with two prior CP arrests, I've learned the
              hard way to stay safe.

       66.    On    the   following   day,   September      26,   2022,   at   9:55   p.m.,

"FlutterDashie88x" replies to a thread entitled, "What have you always wanted to see

in CP ... " and appears to state that he is "having difficulty" finding "high quality" child

pornography:

              Oh I love socks. Two girls, three or four, wearing socks. See, I love
              Ls Magazine, because it's such high quality but there's no HC
              about it. I'm finding difficulty finding high quality vids. Heck, I
              know damn well I could make vids and pies better than anything
              I've seen so far. Girl on girl is great but they often don't have the
              enthusiasm I need. Plus, rarely do they wear socks ...

       67.    I know, based on reports from other FBI investigations, that "Ls" refers

to a series of publications originating in Russia or Ukraine that are known by law

enforcement to contain child pornography. I further know, on the basis of my training,

experience, and research, that "HC" is often shorthand for "hardcore," which refers to

explicit sexual activity usually involving oral, vagina, or anal intercourse.

       68.    At 10: 19 p.m., "FlutterDashie88x" replies to a thread entitled, "Pedos in

Prison - Your Jail/ Prison Experiences," stating, in part, the following:



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            I was caught with CP twice. What a dumb ass, right? Well, the
            second time I was already on probation ... Yeah. I had my laptop
            open in the back room that I forgot about and the desktop image
            of some Ism girls kissing each other buck ass naked on a bed. Yep.
            Do not pass go, do not collect $200. That one was a federal charge
            too.

            My first time I got an okay deal. 3 years jail, ten probation. This
            next time I was given time served at two years, and give years
            probation. I'll be getting off probation a month earlier than I
            would've had I not been arrested the second time\!

            I know that I've got gold. Not many people do, and I have a silent
            prayer every morning I wake up for those who got the book
            thrown at them. Every night, I remember the great I had while
            still in jail not knowing how long I'll be sentenced to. I'm very
            lucky.

            In the feds, I was in PC, protective custody, and I got to know
            many people who was active with children and are looking at 30
            years minimum. One guy ducked his little girl with his wife. His
            little girl took the stand and denied everything. His wife was
            witness and she was given immunity. Two tiered justice system.
            Never the less, his daughter still writes him pretending to be an
            old friend. I read the letters. Sweet girl.

            Granted, I never went to a sentenced facility, thankfully, but my
            time wasn't as bad as it could have been. I played lots of dungeons
            and dragons every day with other pedos, and we mostly talked in
            secret about our fantasies.

      69.   Significantly, in the above post, "FlutterDashie88x" reports receiving

the exact same sentences SZWARC received for his convictions.

                                 DEFINITIONS

      70.   Based on my training and experience, I use the following technical terms

to convey the following meanings:




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    a. "Chat," refers to the process of communicating, interacting and/or

         exchanging messages over the Internet. It involves two or more

         individuals that communicate through a chat-enabled service or

         software. Chat is also known as chatting, online chat or Internet chat.

    b. "Child erotica," means materials or items that are sexually arousing to

         persons having a sexual interest in minors but that are not necessarily

         obscene or do not necessarily depict minors in sexually explicit poses or

         positions.

    c. "Child pornography," 1s defined in 18 U.S.C. § 2256(8) ("any visual

         depiction of sexually explicit conduct where (a) the production of the

         visual depiction involved the use of a minor engaged in sexually explicit

         conduct, (b) the visual depiction is a digital image, computer image, or

         computer-generated image that is, or is indistinguishable from, that of

         a minor engaged in sexually explicit conduct, or (c) the visual depiction

         has been created, adapted, or modified to appear that an identifiable

         minor is engaged in sexually explicit conduct.")

    d.   "Computer," as used herein, refers to "an electronic, magnetic, optical,

         electrochemical, or other high speed data processing device performing

         logical storage functions and includes any data storage facility or

         communications facility directly related to or operating in conjunction

         with such device" and includes smartphones, and mobile phones and

         devices. See 18 U.S.C. § 1030(e)(l).

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    e. "Computer passwords and data security devices," consist of information

       or items designed to restrict access to or hide computer software,

       documentation, or data. Data security devices may consist of hardware,

       software, or other programming code. A password (a string of alpha-

       numeric characters£) usually operates what might be termed a digital

       key to "unlock" particular data security devices. Data security hardware

       may include encryption devices, chips, and circuit boards. Data security

       software of digital code may include programming code that creates

       "test" keys or "hot" keys, which perform certain pre-set security

       functions when touched. Data security software or code may also

       encrypt, compress, hide, or "booby-trap" protected data to make it

       inaccessible or unusable, as well as reverse the process to restore it.

    f. "Encryption" is the process of converting data into a code in order to

       prevent unauthorized access to the data.

    g. "Internet Protocol address" or "IP address," as used herein, refers to a

       unique number used by a computer or other digital device to access the

       Internet. IP addresses can be "dynamic," meaning that the ISP assigns

       a different unique number to a computer every time it accesses the

       Internet. IP addresses might also be "static," if an ISP assigns a user's

       computer a particular IP address that is used each time the computer

       accesses the Internet.



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    h. "Internet Service Providers" ("ISPs"), are cornrnercial organizations that

         are in business to provide individuals and businesses access to the

         Internet. ISPs provide a range of functions for their customers including

         access to the Internet, web hosting, e-rnail, remote storage, and co-

         location of computers and other cornrnunications equipment.

    1.   "Minor," as defined in 18 U.S.C. § 2256(1), refers to any person under

         the age of eighteen years.

    J.   "Mobile applications," as used herein, are small, specialized programs

         downloaded onto mobile devices that enable users to perform a variety

         of functions, including engaging in online chat, reading a book, or

         playing a garne.

    k. "Records," "documents," and "materials," as used herein, include all

         information recorded in any forrn, visual or aural, and by any means,

         whether in handmade, photographic, mechanical, electrical, electronic,

         or magnetic forrn.

    1. "Remote Computing Service" ("RCS"), as defined in 18 U.S.C. § 2711(2),

         is the provision to the public of computer storage or processing services

         by means of an electronic cornrnunications system.

    rn. "Sexually explicit conduct," as defined in 18 U.S.C. § 2256(2), means

         actual or simulated (a) sexual intercourse, including genital-genital,

         oral-genital, anal-genital, or oral-anal, whether between persons of the

         sarne or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or

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       masochistic abuse; or (e) lascivious exhibition of the genitals or pubic

       area of any person.

    n. A "storage medium" is any physical object upon which computer data

       can be recorded. Examples include hard disks, RAM, floppy disks,

       "thumb," "jump," or "flash" drives, CD-ROMs, and other magnetic or op-

       tical media.

    o. "URL" is an abbreviation for Uniform Resource Locator and is another

       name for a web address. URLs are made of letters, numbers, and other

       symbols in a standard form. People use them on computers by clicking

       a pre-prepared link or typing or copying and pasting one into a web

       browser to make the computer fetch and show some specific resource

       (usually a web page) from another computer (web server) on the Inter-

       net.

    p. "Visual depiction," as defined in 18 U.S.C. § 2256(5), includes

       undeveloped film and videotape, data stored on computer disc or other

       electronic means which is capable of conversion into a visual image, and

       data which is capable of conversion into a visual image that has been

      transmitted by any means, whether or not stored in a permanent format.

         BACKGROUND ON CHILD PORNOGRAPHY,
            COMPUTERS, AND THE INTERNET




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      71.      I have had both training and experience m the investigation of

computer-related crimes. Based on my training, experience, and knowledge, I know

the following:

            a. Computers and digital technology are the primary way m which

               individuals interested in child pornography interact with each other.

               Computers basically serve four functions in connection with child

               pornography: production, communication, distribution, and storage.

            b. Digital cameras and smartphones with cameras save photographs or

               videos as a digital file that can be directly transferred to a computer by

               connecting the camera or smartphone to the computer, using a cable or

               via wireless connections such as "WiFi" or "Bluetooth." Photos and

               videos taken on a digital camera or smartphone may be stored on a

               removable memory card in the camera or smartphone. These memory

               cards are often large enough to store thousands of high-resolution

               photographs or videos.

            c. A modem allows any computer to connect to another computer through

              the use of telephone, cable, or wireless connection. Mobile devices such

               as smartphones and tablet computers may also connect to other

              computers via wireless connections. Electronic contact can be made to

              literally millions of computers around the world. Child pornography can

              therefore be easily, inexpensively, and anonymously (through electronic



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         communications) produced, distributed, and received by anyone with

         access to a computer or smartphone.

    d. The computer's ability to store images m digital form makes the

         computer itself an ideal repository for child pornography. Electronic

         storage media of various types-to include computer hard drives,

         external hard drives, CDs, DVDs, and "thumb," "jump," or "flash" drives,

         which are very small devices that are plugged into a port on the

         computer-can store thousands of images or videos at very high

         resolution. It is extremely easy for an individual to take a photo or a

         video with a digital camera or camera-bearing smartphone, upload that

         photo or video to a computer, and then copy it (or any other files on the

         computer) to any one of those media storage devices. Some media

         storage devices can easily be concealed and carried on an individual's

         person. Smartphones and/or mobile phones are also often carried on an

         individual's person.

    e. The Internet affords individuals several different venues for obtaining,

         viewing, and trading child pornography in a relatively secure and

         anonymous fashion.

    f.   Individuals also use online resources to retrieve and store child

         pornography. Some online services allow a user to set up an account with

         a remote computing service that may provide email services and/or

         electronic storage of computer files in any variety of formats. A user can

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       set up an online storage account (sometimes referred to as "cloud"

       storage) from any computer or smartphone with access to the Internet.

       Even in cases where online storage is used, however, evidence of child

       pornography can be found on the user's computer, smartphone, or

       external media in most cases.

    g. A growing phenomenon related to smartphones and other mobile

       computing devices is the use of mobile applications, also referred to as

       "apps." Apps consist of software downloaded onto mobile devices that

       enable users to perform a variety of tasks - such as engaging in online

       chat, sharing digital files, reading a book, or playing a game - on a

       mobile device. Individuals commonly use such apps to receive, store,

       distribute, and advertise child pornography, to interact directly with

       other like-minded offenders or with potential minor victims, and to

       access cloud-storage services where child pornography may be stored.

    h. As is the case with most digital technology, communications by way of

       computer can be saved or stored on the computer used for these

       purposes. Storing this information can be intentional (i.e., by saving an

       email as a file on the computer or saving the l<:>cation of one's favorite

       websites in, for example, "bookmarked" files) or unintentional. Digital

       information, such as the traces of the path of an electronic

       communication, may also be automatically stored in many places (e.g.,

       temporary files or ISP client software, among others). In addition to

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               electronic communications, a computer user's Internet activities

               generally leave traces or "footprints" in the web cache and history files

               of the browser used. Such information is often maintained indefinitely

               until overwritten by other data.

   CHARACTERISTICS COMMON TO INDIVIDUALS WHO HAVE A
      SEXUAL INTEREST IN CHILDREN OR WHO RECEIVE,
          AND/OR POSSESS CHILD PORNOGRAPHY

      72.      Based on my previous investigative experience related to child-

exploitation investigations, and the training and experience of other law enforcement

officers with whom I have had discussions, I know there are certain characteristics

common to individuals who have a sexual interest in children and/or receive, or

possess images of child pornography:

            a. Such individuals may receive sexual gratification, stimulation, and

               satisfaction from contact with children, or from fantasies they may have

               viewing children engaged in sexual activity or in sexually suggestive

               poses, such as in person, in photographs, or other visual media, or from

               literature describing such activity.

            b. Such individuals may collect sexually explicit or suggestive materials in

               a variety of media, including photographs, magazines, motion pictures,

               videotapes, books, slides and/or drawings or other visual media.

               Individuals who have a sexual interest in children or images of children

               oftentimes use these materials for their own sexual arousal and

               gratification. Further, they may use these materials to lower the

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       inhibitions of children they are attempting to seduce, to arouse the

       selected child partner, or to demonstrate the desired sexual acts.

    c. Such   individuals    almost    always    possess   and   maintain    child

       pornographic material in the privacy and security of their home or some

       other secure location. Individuals who have a sexual interest in children

       or images of children typically retain those materials and child erotica

       for many years.

    d. Likewise, such individuals often maintain their child pornography

       images in a digital or electronic format in a safe, secure and private

       environment, such as a computer and surrounding area. These child

       pornography images are often maintained for several years and are kept

       close by, usually at the possessor's residence, inside the possessor's

       vehicle, or, at times, on their person, or in cloud-based online storage, to

       enable the individual to view the child pornography images, which are

       valued highly. Some of these individuals also have been found to

       download, view, and then delete child pornography on their computers

       or digital devices on a cyclical and repetitive basis.

    e. Importantly, evidence of such activity,          including deleted child

       pornography, often can be located on these individuals' computers and

       digital devices through the use of forensic tools. Indeed, the very nature

      of electronic storage means that evidence of the crime is often still



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                 discoverable for extended periods of time even after the individual

                 "deleted" it.

            f.   Such individuals also may correspond with and/or meet others to share

                 information and materials, rarely destroy correspondence from other

                 child pornography distributors/possessors, conceal such correspondence

                 as they do their sexually explicit material, and often maintain contact

                 information (e.g., online messaging accounts, email addresses, etc.) of

                 individuals with whom they have been in contact and who share the

                 same interests in child pornography.

            g. Such individuals prefer not to be without their child pornography for

                 any prolonged time period. This behavior has been documented by law

                 enforcement officers involved in the investigation of child pornography

                 throughout the world.

            h. Even if the individual uses a portable device (such as a mobile phone) to

                 access the Internet and child pornography, it is more likely than not that

                 evidence of this access will be found in the individual's home, the

                 SUBJECT PREMISES, or on the individual's person, as set forth in

                 Attachment A-1 and Attachment A-2, including on digital devices other

                 than the portable device (for reasons including the frequency of"backing

                 up" or "synching" mobile phones to computers or other digital devices).

      73.        Based on all of the information contained herein, I believe that

SZWARC likely displays characteristics common to individuals who have a sexual

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interest in children and/or receive or possess images of child pornography. In

particular, despite two prior arrests, convictions, and sentences of imprisonment,

S ZWARC was detected by his probation officer possessing child pornography a third

time.    Additionally,      SZWARC        has   employed    a   number    of   uncommon

countermeasures to avoid detection and hide his Internet and computer activities,

including whole disk encryption and using TOR-based web browsers. Lastly,

SZWAR C's browsing history and possession of a child sex doll indicates that he

continues to have a sexual interest in children.

 SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

        7 4.      As described above and in Attachment B, this application seeks

permission to search for records that might be found on the SUBJECT

PREMISES, in whatever form they are found. One form in which the records are

likely to be found is data stored on a computer's hard drive or other storage media.

Thus, the warrant applied for would authorize the seizure of electronic storage media

or, potentially, the copying of electronically stored information, all under Rule

41(e)(2)(B).

        75.       I submit that if a computer or storage medium is found on the

SUBJECT PREMISES, there is probable cause to believe those records referenced

above will be stored on that computer or storage medium, for at least the following

reasons:

               a. Deleted files, or remnants of deleted files, may reside in free space or

                  slack space-that is, in space on the storage medium that is not

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       currently being used by an active file-for long periods of time before

       they are overwritten. In addition, a computer's operating system may

       also keep a record of deleted data in a "swap" or "recovery" file.

    b. Based on my knowledge, training, and experience, I know that computer

       files or remnants of such files can be recovered months or even years

       after they have been downloaded onto a storage medium, deleted, or

       viewed via the Internet. Electronic files downloaded to a storage

       medium can be stored for years at little or no cost. Even when files have

       been deleted, they can be recovered months or years later using forensic

       tools. This is so because when a person "deletes" a file on a computer,

       the data contained in the file does not actually disappear; rather, that

       data remains on the storage medium until it is overwritten by new data.

    c. Wholly apart from user-generated files, computer storage media-in

       particular, computers' internal hard drives-contain electronic evidence

       of how a computer has been used, what it has been used for, and who

       has used it. To give a few examples, this forensic evidence can take the

       form of operating system configurations, artifacts from operating system

       or application operation, file system data structures, and virtual

       memory "swap" or paging files. Computer users typically do not erase or

       delete this evidence, because special software is typically required for

       that task. However, it is technically possible to delete this information.



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            d. Similarly, files that have been viewed via the Internet are sometimes

               automatically downloaded into a temporary Internet directory or

               "cache."

      76.      As further described in Attachment B, this application seeks permission

to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes

how computers were used, the purpose of their use, who used them, and when. There

is probable cause to believe that this forensic electronic evidence will be on any

storage medium in the SUBJECT PREMISES because:

            a. Data on the storage medium can provide evidence of a file that was once

               on the storage medium but has since been deleted or edited, or of a

               deleted portion of a file (such as a paragraph that has been deleted from

               a word processing file). Virtual memory paging systems can leave traces

               of information on the storage medium that show what tasks and

               processes were recently active. Web browsers, email programs, and chat

               programs store configuration information on the storage medium that

               can reveal information such as online nicknames and passwords.

               Operating systems can record additional information, such as the

               attachment of peripherals, the attachment of USB flash storage devices

               or other external storage media, and the times the computer was in use.

               Computer file systems can record information about the dates files were



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       created and the sequence in which they were created, although this

       information can later be falsified.

    b. Information stored within a computer and other electronic storage

       media may provide crucial evidence of the "who, what, why, when,

       where, and how" of the criminal conduct under investigation, thus

       enabling the United States to establish and prove each element or

       alternatively, to exclude the innocent from further suspicion. In my

       training and experience, information stored within a computer or

       storage media (e.g., registry information, communications, images and

       movies, transactional information, records of session times and

       durations, Internet history, and anti-virus, spyware, and malware

       detection programs) can indicate who has used or controlled the

       computer or storage media. This "user attribution" evidence is

       analogous to the search for "indicia of occupancy" while executing a

       search warrant at a residence. The existence or absence of anti-virus,

       spyware, and malware detection programs may indicate whether the

      computer was remotely accessed, thus inculpating or exculpating the

       computer owner. Further, computer and storage media activity can

      indicate how and when the computer or storage media was accessed or

      used. For example, computers typically contain information that logs:

      computer user account session times and durations, computer activity

      associated with user accounts, electronic storage media that connected

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      with the computer, and the IP addresses through which the computer

       accessed networks    and the     Internet.   Such information allows

      investigators to understand the chronological context of computer or

      electronic storage media access, use, and events relating to the crime

      under investigation. Additionally, some information stored within a

      computer or electronic storage media may provide crucial evidence

      relating to the physical location of other evidence and the suspect. For

      example, images stored on a computer may both show a particular

      location and have geolocation information incorporated into its file data.

      Such file data typically also contains information indicating when the

      file or image was created. The existence of such image files, along with

      external device connection logs, may also indicate the presence of

      additional electronic storage media (e.g., a digital camera or cellular

      phone with an incorporated camera). The geographic and timeline

      information described herein may either inculpate or exculpate the

      computer user. Last, information stored within a computer may provide

      relevant insight into the computer user's state of mind as it relates to

      the offense under investigation. For example, information within the

      computer may indicate the owner's motive and intent to commit a crime

      (e.g., Internet searches indicating criminal planning), or consciousness

      of guilt (e.g., running a "wiping" program to destroy evidence on the



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       computer or password protecting/encrypting such evidence in an effort

       to conceal it from law enforcement).

    c. A person with appropriate familiarity with how a computer works can,

       after examining this forensic evidence in its proper context, draw

       conclusions about how computers were used, the purpose of their use,

       who used them, and when.

    d. The process of identifying the exact files, blocks, registry entries, logs,

       or other forms of forensic evidence on a storage medium that are

       necessary to draw an accurate conclusion is a dynamic process. While it

       is possible to specify in advance the records to be sought, computer

       evidence is not always data that can be merely reviewed by a review

       team and passed along to investigators. Whether data stored on a

       computer is evidence may depend on other information stored on the

       computer and the application of knowledge about how a computer

       behaves. Therefore, contextual information necessary to understand

       other evidence also falls within the scope of the warrant.

    e. Further, in finding evidence of how a computer was used, the purpose of

       its use, who used it, and when, sometimes it is necessary to establish

       that a particular thing is not present on a storage medium. For example,

       the presence or absence of counter-forensic programs or anti-virus

       programs (and associated data) may be relevant to establishing the

       user's intent.

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            f. I know that when an individual uses a computer to obtain or access child

               pornography, the individual's computer will generally serve both as an

               instrumentality for committing the crime, and also as a storage medium

               for evidence of the crime. The computer is an instrumentality of the

               crime because it is used as a means of committing the criminal offense.

               The computer is also likely to be a storage medium for evidence of crime.

               From my training and experience, I believe that a computer used to

               commit a crime of this type may contain: data that is evidence of how

               the computer was used; data that was sent or received; notes as to how

               the criminal conduct was achieved; records oflnternet discussions about

               the crime; and other records that indicate the nature of the offense.

      77.      Based upon my training and experience and information relayed to me

by agents and others involved in the forensic examination of computers, I know that

computer data can be stored on a variety of systems and storage devices, including

external and internal hard drives, flash drives, thumb drives, micro SD cards, macro

SD cards, DVDs, gaming systems, SIM cards, cellular phones capable of storage,

floppy disks, compact disks, magnetic tapes, memory cards, memory chips, and online

or offsite storage servers maintained by corporations, including but not limited to

"cloud" storage. I also know that during the search of the premises it is not always

possible to search computer equipment and storage devices for data for a number of

reasons, including the following:



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    a. Searching computer systems is a highly technical process that requires

       specific expertise and specialized equipment. There are so many types

       of computer hardware and software in use today that it is impossible to

       bring to the search website all of the technical manuals and specialized

       equipment necessary to conduct a thorough search. In addition, it may

       also be necessary to consult with computer personnel who have specific

       expertise in the type of computer, software, or operating system that is

       being searched;

    b. Searching computer systems requires the use of precise, scientific

       procedures which are designed to maintain the integrity of the evidence

       and to recover "hidden," erased, compressed, encrypted, or password-

       protected data. Computer hardware and storage devices may contain

       "booby traps" that destroy or alter data if certain procedures are not

       scrupulously followed. Since computer data is particularly vulnerable to

       inadvertent or intentional modification or destruction, a controlled

       environment, such as a law enforcement laboratory, is essential to

       conducting a complete and accurate analysis of the equipment and

       storage devices from which the data will be extracted;

    c. The volume of data stored on many computer systems and storage

       devices will typically be so large that it will be highly impractical to

       search for data during the execution of the physical search of the

      premises; and

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            d. Computer users can attempt to conceal data within computer equipment

               and storage devices through a number of methods, including the use of

               innocuous or misleading filenames and extensions. For example, files

               with the extension ".jpg" often are image files; however, a user can easily

               change the extension to ".txt" to conceal the image and make it appear

               that the file contains text. Computer users can also attempt to conceal

               data by using encryption, which means that a password or device, such

               as a "dongle" or "keycard," is necessary to decrypt the data into readable

              form. In addition, computer users can conceal data within another

               seemingly   unrelated    and        mnocuous   file   m   a   process   called

              "steganography." For example, by using steganography a computer user

              can conceal text in an image file which cannot be viewed when the image

              file is opened. Therefore, a substantial amount of time is necessary to

              extract and sort through data that is concealed or encrypted to

              determine     whether     it    1s     contraband,     evidence,   fruits,   or

              instrumentalities of a crime.

      78.     Additionally, based upon my training and experience and information

relayed to me by agents and others involved in the forensic examination of computers,

I know that routers, modems, and network equipment used to connect computers to

the Internet often provide valuable evidence of, and are instrumentalities of, a crime.

This is equally true of wireless routers, which create localized networks that allow

individuals to connect to the Internet wirelessly. Though wireless networks may be

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secured (in that they require an individual to enter an alphanumeric key or password

before gaining access to the network) or unsecured (in that an individual may access

the wireless network without a key or password), wireless routers for both secured

and unsecured wireless networks may yield significant evidence of, or serve as

instrumentalities of, a crime-including, for example, serving as the instrument

through which the perpetrator of the Internet-based crime connected to the Internet

and, potentially, containing logging information regarding the time and date of a

perpetrator's network activity as well as identifying information for the specific

device(s) the perpetrator used to access the network. Moreover, I know that

individuals who have set up either a secured or unsecured wireless network in their

residence are often among the primary users of that wireless network.

      79.    Based on the foregoing, and consistent with Rule 41(e)(2)(B), the

warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described

in the warrant and would authorize a later review of the media or information

consistent with the warrant. The later review may require techniques, including but

not limited to computer-assisted scans of the entire medium, that might expose many

parts of a hard drive to human inspection in order to determine whether it is evidence

described by the warrant.




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                       BIOMETRIC ACCESS TO DEVICES

      80.      This warrant permits law enforcement to compel SZWARC to unlock

any electronic devices requiring biometric access subject to seizure pursuant to this

warrant. The grounds for this request are as follows:

            a. I know from my training and experience, as well as from information

               found   m    publicly    available   materials    published    by    device

               manufacturers, that many electronic devices, particularly newer mobile

               devices and laptops, offer their users the ability to unlock the device

               through biometric features in lieu of a numeric or alphanumeric

               passcode or password. These biometric features include fingerprint

               scanners, facial recognition features and iris recognition features. Some

               devices offer a combination of these biometric features, and the user of

               such devices can select which features they would like to utilize.

            b. If a device is equipped with a fingerprint scanner, a user may enable the

               ability to unlock the device through their fingerprints. For example,

               Apple offers a feature called "Touch ID," which allows a user to register

               up to five fingerprints that can unlock a device. Once a fingerprint is

               registered, a user can unlock the device by pressing the relevant finger

               to the device's Touch ID sensor, which is found in the round button (often

               referred to as the "home" button) located at the bottom center of the front

               of the device. The fingerprint sensors found on devices produced by other

               manufacturers have different names but operate similarly to Touch ID.

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    c. If a device is equipped with a facial-recognition feature, a user may

       enable the ability to unlock the device through their face. For example,

       this feature is available on certain Android devices and is called

       "Trusted Face." During the Trusted Face registration process, the user

       holds the device in front of their face. The device's front-facing camera

       then analyzes and records data based on the user's facial characteristics.

       The device can then be unlocked if the front-facing camera detects a face

       with characteristics that match those of the registered face. Facial

       recognition features found on devices produced by other manufacturers

       have different names but operate similarly to Trusted Face.

    d. If a device is equipped with an iris-recognition feature, a user may

       enable the ability to unlock the device with their irises. For example, on

       certain Microsoft devices, this feature is called "Windows Hello." During

      the Windows Hello registration, a user registers their irises by holding

      the device in front of their face. The device then directs an infrared light

      toward the user's face and activates an infrared-sensitive camera to

      record data based on patterns within the user's irises. The device can

      then be unlocked if the infrared-sensitive camera detects the registered

      irises. Iris-recognition features found on devices produced by other

      manufacturers have different names but operate similarly to Windows

      Hello.



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    e. In my training and experience, users of electronic devices often enable

       the aforementioned biometric features because they are considered to be

       a more convenient way to unlock a device than by entering a numeric or

       alphanumeric passcode or password. Moreover, in some instances,

       biometric features are considered to be a more secure way to protect a

       device's contents. This is particularly true when the users of a device are

       engaged in criminal activities and thus have a heightened concern about

       securing the contents of a device.

    f. As discussed in this affidavit, I have reason to believe that one or more

       digital devices will be found during the search. The passcode or

       password that would unlock the devices subject to search under this

       warrant currently is not known to law enforcement. Thus, law

       enforcement personnel may not otherwise be able to access the data

       contained within the devices, making the use of biometric features

       necessary to the execution of the search authorized by this warrant.

    g. I also know from my training and experience, as well as from

       information found in publicly available materials including those

       published by device manufacturers, that biometric features will not

       unlock a device in some circumstances even if such features are enabled.

       This can occur when a device has been restarted, inactive, or has not

       been unlocked for a certain period of time. For example, certain Apple

       devices cannot be unlocked using Touch ID when: (1) more than 48 hours

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       has elapsed. since the device was last unlocked; or, (2) when the device

       has not been unlocked using a fingerprint for 8 hours and the passcode

       or password has not been entered in the last 6 days. Similarly, certain

       Android devices cannot be unlocked with Trusted Face if the device has

       remained inactive for four hours. Biometric features from other brands

       carry similar restrictions. Thus, in the event law enforcement personnel

       encounter a locked device equipped with biometric features, the

       opportunity to unlock the device through a biometric feature may exist

       for only a short time.

    h. Due to the foregoing, if law enforcement personnel encounter any

       devices that are subject to seizure pursuant to this warrant and may be

       unlocked using one of the aforementioned biometric features, this

       warrant permits law enforcement personnel to: (1) press or swipe the

       fingers (including thumbs) of SZWARC to the fingerprint scanner of

       the devices found at the SUBJECT PREMISES or on his person; (2)

       hold the devices found at the SUBJECT PREMISES or on his person

       in front of the face of SZWARC and activate the facial recognition

      feature; and/or (3) hold the devices found at the SUBJECT

       PREMISES or on his person in front of the face of SZWARC and

       activate the iris recognition feature, for the purpose of attempting to

      unlock the devices in order to search the contents as authorized by this

      warrant. The proposed warrant does not authorize law enforcement to

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               compel that SZWARC state or otherwise provide the password or any

               other means that may be used to unlock or access the devices. Moreover,

              the proposed warrant does not authorize law enforcement to compel

              SZWARC to identify the specific biometric characteristics (including

               the unique finger(s) or other physical features) that may be used to

               unlock or access the devices.

                                    CONCLUSION

      81.     Based on the foregoing, there is probable cause to believe that the

federal criminal statutes cited herein have been violated by SZWARC, and that the

contraband, property, evidence, fruits, and instrumentalities of these offenses, more

fully described in Attachment B, are located at the locations described in Attachment

A-1 and Attachment A-2. I respectfully request that this Court issue:

            a. an arrest warrant for SZWARC charging him with the offenses

              identified in the criminal complaint; and

            b. search warrants for the locations described in Attachment A-1 and

              Attachment A-2, authorizing the seizure and search of the items

              described in Attachment B.

      82.     I am aware that the recovery of data by a computer forensic analyst

takes significant time, much the way recovery of narcotics must later be forensically

evaluated in a lab, digital evidence will also undergo a similar process. For this

reason, the "return" inventory will contain a list of only the tangible items recovered



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from the premises. Unless otherwise ordered by the Court, the return will not include

evidence later examined by a forensic analyst.



                                                 Respectfully submitted,




                                                 Special Agent
                                                 Federal Bureau of Investigation


      The truth of the foregoing affidavit has been attested to me by FBI Special
Agent Jenny Konecnik over the telephone on February 8, 2024.




H
United States Magistrate Judge




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                               ATTACHMENT A-1

                             Property to be Searched

      The property to be searched is the person of MICHAEL SZWARC, an adult

male born in 1988, provided he is located in the District of Connecticut at the time of

the search.
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                               ATTACHMENT A-2

                             Property to be Searched

        The property to be searched is 7 4 West 4th Street, Apartment 29B, in Derby,

Connecticut (the SUBJECT PREMISES), further described as a two-story brick

apartment complex containing multiple units. The subject of the search is Apartment

29B.
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                                 ATTACHMENT B

                                 I terns to be Seized

      All property, records, and information, in any format, that constitute fruits,

evidence, and instrumentalities of violations of 18 U.S.C. 2252A(a)(2) (receiving child

pornography) and 18 U.S.C. § 2252A(a)(5)(B) and (b)(2) (possession and access with

intent to view child pornography) (the TARGET OFFENSES) and involve

MICHAEL SZWARC since September 1, 2022, including:

          1. Child pornography, as defined in 18 U.S.C. § 2256(8);

          2. Child erotica;

          3. Computers or storage media capable of being used as a means to commit

             the violations described above;

          4. Any and all computer software, including programs to run operating

             systems, applications (such as word processing, graphics, or spreadsheet

             programs), utilities, compilers, interpreters, and communications

             programs, including storage, and chat applications;

          5. In any format or media, all originals, copies and negatives of visual

             depictions of minors engaged in sexually explicit conduct, as defined in

             18 U.S.C. § 2256;

         6. Any and all notes, documents, records, correspondence, and materials,

             in any format and media (including, but not limited to, letters, e-mail,

             chat logs and electronic messages), pertaining to the possession or,

             receipt, or distribution of child pornography as defined in 18 U.S.C. §

             2256(8) or to the possession, receipt, or distribution of visual depictions
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       of minors engaged in sexually explicit conduct as defined in 18 U.S.C. §

       2256(2);

    7. Any and all names, addresses, contact information or lists of names,

       addresses or contact information, in any format and medium, of those

       who may have been contacted by computer or other means for the

       purpose of distributing or receiving child pornography as defined in 18

       U.S.C. § 2256(8) or visual depictions of minors engaged in sexually

       explicit conduct as defined in 18 U.S.C. § 2256(2);

    8. Any and all notes, documents, records, or correspondence, in any format

       or medium, concerning communications about child pornography or the

       existence of sites on the Internet that contain child pornography or that

       cater to those with an interest in child pornography;

    9. Any and all notes, documents, records, or correspondence, in any format

       or medium, concerning membership in online groups, clubs, or services

       that provide or make child pornography accessible to members;

    10.Any and all records, documents, invoices and materials, in any format

       or medium that concern any accounts with an Internet Service Provider;

    11.Any and all records, documents, invoices and materials, in any format

       or medium that concern online storage or other remote computer

       storage, including, but not limited to, software used to access such online

       storage or remote computer storage, user logs or archived data that show

       connection to such online storage or remote computer storage, and user

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       logins and passwords for such online storage or remote computer

       storage;

    12.For any computer or storage medium whose seizure is otherwise author-

       ized by this warrant, and any computer or storage medium that contains

       or in which are stored records or information that is otherwise called for

       by this warrant (hereinafter, "COMPUTER"):

            a. evidence of who used, owned, or controlled the COMPUTER at

                  the time the things described in this warrant were created,

                  edited, or deleted, such as logs, registry entries, configuration

                  files, saved user names and passwords, documents, browsing

                  history, user profiles, email, email contacts, "chat," instant

                  messaging logs, photographs, and correspondence;

            b. evidence of software that would allow others to control the

                  COMPUTER, such as viruses, Trojan horses, and other forms of

                  malicious software, as well as evidence of the presence or

                  absence of security software designed to detect malicious

                  software;

            c. evidence of the lack of such malicious software;

            d. evidence indicating how and when the computer was accessed

                  or used to determine the chronological context of computer

                  access, use, and events relating to the crime(s) under

                  investigation and to the computer user;

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           e. evidence indicating the computer user's knowledge and/or

                intent as it relates to the crime(s) under investigation;

           f. evidence of the attachment to the COMPUTER of other storage

                devices or similar containers for electronic evidence;

           g. evidence of programs (and associated data) that are designed to

                eliminate data from the COMPUTER;

           h. evidence of the times the COMPUTER was used;

           1.   passwords, encryption keys, and other access devices that may

                be necessary to access the COMPUTER;

           J.   documentation and manuals that may be necessary to access

                the COMPUTER or to conduct a forensic examination of the

                COMPUTER;

           k. records of or information about Internet Protocol addresses used

                by the COMPUTER;

           1. records of or information about the COMPUTER's Internet

                activity, including firewall logs, caches, browser history and

                cookies, "bookmarked" or "favorite" web pages, search terms

                that the user entered into any Internet search engine, and

                records of user-typed web addresses; and

           m. contextual information necessary to understand the evidence

                described in this attachment.

    13. Routers, modems, and network equipment used to connect computers to

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                the Internet.

          14.Records, information, and items relating to violations of the statutes de-

                scribed above including:

                     a. Records, information, and items relating to the occupancy or

                        ownership of the 7 4 West 4th Street, Apartment 29B, in Derby,

                        Connecticut,   including utility and telephone bills,        mail

                        envelopes, or addressed correspondence;

                    b. Records, information, and items relating to the ownership or use

                        of computer equipment found in the above residence, including

                        sales receipts, bills for Internet access, and handwritten notes;

                    c. Records and information relating to the identity or location of

                        the persons suspected of violating the statutes described above;

                    d. Records and information relating to sexual exploitation of

                        children,   including   correspondence    and   communications

                        between users of child pornography and exploitation websites.

      As used above, the terms "records" and "information" include all forms of

creation or storage, including any form of computer or electronic storage (such as hard

disks or other media that can store data); any handmade form (such as writing); any

mechanical form (such as printing or typing); and any photographic form (such as

microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or

photocopies).



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        The term "computer" includes all types of electronic, magnetic, optical,

electrochemical, or other high speed data processing devices performing logical,

arithmetic, or storage functions, including desktop computers, notebook computers,

mobile phones, tablets, server computers, and network hardware.

        The term "storage medium" includes any physical object upon which computer

data can be recorded, including external and internal hard drives, flash drives, thumb

drives, micro SD cards, macro SD cards, DVDs, gaming systems, SIM cards, cellular

phones capable of storage, floppy disks, compact discs, magnetic tapes, memory cards,

memory chips, and other magnetic or optical media.

        During the execution of the search of the locations described in Attachment A-

l and Attachment A-2, law enforcement personnel are also specifically authorized to

compel MICHAEL SZWARC to provide biometric features, including pressing

fingers (including thumbs) against and/or putting a face before the sensor, or any

other security feature requiring biometric recognition, of:

   •    any of the devices found upon the person of MICHAEL SZWARC or at the

        SUBJECT PREMISES, and

   •    where the devices are limited to those which are capable of containing and

        reasonably could contain fruits, evidence, information, contraband, or instru-

        mentalities of the offense(s) as described in the search warrant affidavit and

        warrant attachments,

for the purpose of attempting to unlock the devices' security features in order to

search the contents as authorized by this warrant.

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      This warrant does not authorize law enforcement personnel to compel any

other individuals found at the SUBJECT PREMISES to provide biometric

features, as described in the preceding paragraph, to access or otherwise unlock any

device. Further, this warrant does not authorize law enforcement personnel to

request that SZWARC state or otherwise provide the password or any other means

that may be used to unlock or access the devices, including by identifying the specific

biometric characteristics (including the unique finger(s) or other physical features)

that may be used to unlock or access the devices.




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